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IN THE D|STR|CT COURT OF THE UN|TED STATES l ' ` " \
FOR THE NORTHERN D|STR|CT OF ALABAMA 03 HEY 29 FH lZ¢ 25

SOUTHERN D|VlSlON |_, __ ___ _ _, UD_
‘\,..). aff i¢`~'..`r vi 3 r\lr
BEVERLYBRABHAM H_U. tr al_ni_rAMA
Petitioner gt
vs @Wr.»z~”'=`»‘l'*`q("'§
Judge Roy Landmm

Adamsville, Al_ Municipal Court

MOT|QN TO HEAR CASE OF WRON§ QOIN§ BY ADAM§V|LLEl AL. JUDGEl
DA, and POLICE DEPARTMENT
f 42 Q§Q§ 1983 §lg`m[

Comes now, Beverly Brabham, with a complaint and request for action by this
Honorable Court_

The Petitioner signed a plea agreement based on implied consent, and 'rt has
already been breached by the judge. This complaint concerns a hearing on Apn'l
29, 2003 in Adamsville Municipal Court before Judge Roy Landrum.

During previous proceedings on the same case in Adamsville, Al., the Petitioner
finally tiled a Federal complaint, due to the numerous refusals by the Judge to
appoint Counsel for her. At the time of these refusals, he also made threats of
jail, even though none of the facts of the frivolous arrest and case had ever been
addressed

The previously tiled case in this Honorable Court is Case is 03-cv-00064 in the
US Northem District of Alabama. lt was dismissed without prejudioe, after the
presence of the Federal Attomey prompted the Judge in Adamsville, Al. to
appoint Counsel for the Petitioner.

in this instant motion for reiief, the Petitioner alleges the following complaints:

1. Breach of contract by Judge Roy Landrum on 5~13-03, the day alter the
Plaintiff fulnlled her end of the bargain agreement by paying the ordered full
amount cf tine. Enclosed Exhibit B explains the breach of the contract
agreement

2. The DA, Milton Barker. was wrong by implying one offer of a reduced charge
to obtain a plea agreement, yet deceitfully writing up a new, different bogus
charge with Oflicer Bentley. The Petitioner was not informed that she was really
pleading guilty to a newl more recently dated 2003 bogus charge of Pl that was
written up in the back room by officer Bent|ey and DA Barker while she sat in the
court room on Apn'l 29, 2003.

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3. lt was implied that the Petitioner was pleading guilty to a reduced charge of
DUl to Public intoxication while she was at home in her bathroom

(the DUl case number is TR 02~1352, and the concocted, bogus P| case
number is MC 03-0291)

4. The Petitioner wishes to withdraw her plea of guilty to a 2003 bogus case of
Public lntoxication. ln June of 2003, the Petitioner will have established one year
of sobriety through random urines and other means of documentation When she
goes to the Nursing Board to petition for her Nursing License to be reinstated, a
2003 arrest for Public intoxication on record would be devastating lt never
oocurred, but again, the record is very daming and could destroy her carreer in
the future. lt is defamation of character The Petitioner has established
documentation that she has not had a drink of alcohol since June 2002.

(ln other words, Beverly Brabham was offered a plea agreement to reduce the
DUl out of her home to a lessor charge of Pl while in the bathroom of her home.)
Even though the Petitioner thought that the arrest by Henderson was frivolous
and absurd and should have been dismissed, she went on and agreed to plead
guilty to the lessor charge of Plublic lntoxication on the 4-16-02 charge, while in
the privacy of her domain when approached by Officer Henderson. She believes
that any reasonable Judge would have looked at the facts of the case, and that it
would have immediately been dismissed

She saw that the whole thing had become a personal issue with the Judge. He
was mad because she had hled in Federal Court in the first place, and he refuses
to allow any person to walk out of that court without getting money from them.
The general attitude of his is: Everybody is guilty and nobody gets a lawyer.

An arrest is not a conviction, as the following will remove all doubt about that.

At this point, the Petitioner now has two anests by Of&cer Bentley on record, yet
he has never arrested her for anything. The Petitioner has been refused a copy
of the new 2003 fabricated case of Pl.

This is very dangerous, and is a real indication of how innocent people are
wrecklessly harmed. Since the Petitioner has been denied a copy of the bogus
case, she is not aware of exactly where the Oflicer "placed" her in public to
compose an arrest on paper of her for public intoxication

ln essence, Ofticer Bentley literally placed the Petitioner at the "scene of a
crime" while she sat in the court room, waiting to plead to a lessor charge for the
arrest that occurred on 4-16-02. This could be done with any charge, and the
Judgel Roy Landrum, of course would tind that person guilty. That is a nightmare
to think about, because the poor fram-ee is sure to lose. as the court is always
presumed to be right ln this case it is a heinous criminal obstruction ofjustice to
the Petitioner.

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The Petitioner was represented by Attomey Fred Pickard. He did the negotiating
between the Judge, DA, and thcer Bentley. The Petitioner‘s accuser, Officer
Henderson, did not show up for the hearing, which was an error of the court's
right there.

Before the signing of the Plea Agreement, the Petitioner repeatedly asked Atty.
Pickard about the reduced charge being the same case of 4-16-02, and that it
was a reduced charge on that same case, date, and time. He said. yes, that it
was.

l asked about the fine amount remaining what was ordered on that date, 4-29-03,
and he said that it could not be altered after the plea agreement is signed by both
parties. He assured me that it was binding to both parties and that it could not be
changed or altered by either,

The Petitoner continuously made the point about money with him because of
what had occurred with a friend of hers, Donald Mooneyham, who was fined
$108.00. He also filed a complaint with Federal Court, because the Judge
doubled his line because he lacked legal advice on properly filing an appeal.
When Mooneyham tried to ask the Judge how to file the appeal, the judge just
said, "be back in here in 2 weeks". Mooneyham mailed his appeal paper to
Birmingham City Court, and reappeared in Adamsville Court in 2 weeks for his
appeai, as order by Judge Landrum.

Judge Landrum told Mooneyham it was too late for the appeal and saidl now the
ina doubles to $216.00. How wrong of the court to be able to do that Scratch
out marks were made on the Mooneyham fi|e, but the Clerk, Jan, is real good
about cleaning up behind mistakes She inageled the figures around to add up
to $216.00 when Mooneyham requested a copy of the original charge of $108.00.
lt is now a clean, appearing|y unfampered with piece of paper. This seems to be
a common practice of the Municipal Court of Adamsville. Original documents
mean nothing. They just fix up another piece of paper to fit the circumstances
even writing a bogus charge to fit a case. How damaging, under the color of |aw,
because their victim stands no chance for defense

That is why the Petitioner reiterated the fact to Attomey Pickard, that a change in
amount could occur as it had with Mooneyham_ Atty. Pickard stated that it is
illegal for the judge to make any changes now. and if he does, call me. l called
him and he said, you mean you didn't just go on and pay the increased amount? l
said absolutely not. lt is not the amount of the money, it is a blatant breach of a
signed binding contract

Only the petitioner and Attomey Fred Pickard went before the Judge. DA Barker
remained in the back room.

The Judge asked Pickard if he was ready. Pickard and the Petitioner

 

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approached Pickard said, judge we have worked it out. The judge's only
statement to him was, does she have any money. That's when Pickard said
the Petitioner would pay the amount in 2 weclcs, on or before 5-12-03.

The judge then said, as the Petitioner and Atty. Pickard watched him write,
that the fine will be $50.00 fmc and $82.50 court cost $50.00 had been
written on the plea sheet, l guess by DA Barker, but the Judge himself said
and wrote $82_50 as court cost. The judge then asked Pickard if he had
turned in his paper work to get paid. He said yes, your honor, and we walked
off. Absolutely nothing else was said, and the judge made it obvious that he
was ignoring the Petitioner.

As the Petitioner was rej oicing about it being over, she asked Pickard again,
is this it and over? He said there is nothing that can change now, about it
being a binding agreement etc. The Petitioner's friend told of his fine being
doubled two weeks after the disposition of his case, and that is why Pickard
himself knows that the Petitioner was really focusing on that distinct
possibility.

Not a word was mentioned about the Petitioner's 5th amendment rights being
given up by plea bargaining possible punishments, just nothing was said to
her by the Judge. It was very obvious that he was purposefully ignoring the
Petitioner. He was obviously angry, personally.

The enclosed plea agreement (Enclosed Exhibit A) was signed and the
Petitioner was ordered to pay tine amount of $50.00 and court costs of $82.50,
totaling $132.50.

She went to pay the amount on May 12, 2003.

lt was then that she was told by the clerk that the fine amount had increased

(T he amount could be $1 or $1 million, it is what this repmsents that is so oorrupt,
a contract agreement was broken by the judge.)

The Petitioner said, no mam, l am going to pay what was ordered and bound by
the plea agreement

When the clerk took the money, she said. oh, l need to enter the new case
number. The Petitoner asked what new case number. The Clerk said:

"lt is illegal to reduce a DUl to Pl, so what they did was to dismiss the DUl,
case # TR 02-1352, and just had Ofticer Bentley to write up a new case for
Pl, Case # MC 03-0291

The Clerk said, well the judge made a mistake and the amount is going to be

 

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higher, you'|l just have to go to court tomorrow and talk with him. The Petitioner
said no ma'am, l have completely lived up to my end of the plea bargain
agreement made between my Attomey and the DA and the Judge.

A few days later, the Petitioner went to get a copy of the Plea agreement She
was not given one on the day of court, but was told she would have to pick it up
at a later date..

lt was at that time that the Petitioner was also given a copy of the case action
summary (Enclosed Exhibit B).

The Judge had reneged on the plea bargain agreementl and had set aside the
judgement

This outrage of wrong doing has gone from bad to worse since the Petitioner first
filed in this Honorable Court concerning the refusal of the appointment of
Counsel, yet being threatened with jail.

The Petitioner prays that this Honorable Court would take necessary action to
resolve these damages

The Petitioner would like for the Court to:
1. See that the 2003 bogus arrest and charge are expunged from her record

2. That her name and record be cleared of the fraudulently imposed bogus
charge for 2003. (However the Court Clerk stated that she would just have to go
back into the computer and "'fix' that. She said that as if it was no big deal, a
common practice to "tix" things to fit the cormption.)

3. That she be refunded her money paid to the Adamsville Court for the bogus,
unsubstantiated charge

4. To award the Petitoner punitive and compensatory as well as declaratory and
injunctive relief.

5. The Court waited for over a year to bring the case to trial, a violation of the
Petitioner's 5fh Amendment

rights. The newly concocted bogus case of Public intoxication was imposed
over a years after the original frivolous arrest

6. The Judge introduced much bias into the case from the beginning through
rude degrading comments, refusal to appoint counsel so that he could find the
Petitioner guilty (regardless of the facts), and was personally determined to cause
harm to the Petitioner, especially since she involved Federal Court_ This was
apparent throughout

 

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Malicious Prosecution by D. A, Milton Barker

Code of Alabama Section 15-18-60

{When an indictment is for a misdemeanor and the court is of opinion that
the prosecution is frivolous or malicious, the prosecutor is liable for the
costs.}

There was never an indictment, the Judge ignored the Petitioner's Motion for
a Preliminary hearing to determine whether there was even any evidence to
warrant a hearing

7. The "broed exclusionary statement" at the bottom of Exhibit A is illegal (What
arrest is it addressing? The Petitioner has never mo arrested by Of|icer
Bentley. yet there are two arrests on record.)

8. The Petitioner sat in that court room for over 40 hours total. and 12 court
appearances over the frivolous charge, where there was not even enough
evidence to warrant holding a hearing for. The Petitioner would like
compensation for that stolen time. and for denial of a spwdy hearing, as this
misdemeanor charge was not taken to trial for over a year after the charge and
arrest by Oflicer Henderson. lt has cause much mental anguish and undue
duress in being ordemd to court every two meks, demeaned by the judge before
the whole court room, and treated with utmost personal hatred and disrespect

F or over a year, the Petitioner experienced a sense of hopelessness and dread.
She was aware that she was being deprived of her Constitutional Rights, but no
one in the Municipal Court of Adamsville seemed to care. DA Barker is just as
corrupt as the Judge. During one of the appearances DA Barker asked, "What,
you're not going to get a lawyer? Are you just going to go to jail without one?
That was after l stated that l was unable to afford one, and the judge and DA had
ignored my hardship aflidavit filed in that court. The attitude is one of total
apathy. lt was like a nightmare, being on a run-away roll-a-coaster, where that
whole ordeal is concemed.

9. To request copies of both of the arrests by Oflioer Bentley. yet Officer Bentley
has never once arrested the Petitioner.

10. To award any and all other damages that this Honorab|e Court deems
appropriate

The Petitioner prays that this motion end relief will be granted. lt is the serious
nature of the corruption that it represents, and the violation of Constitutionally
guaranteed Rights, more than the amount of money in question A contract has
men breached by a judge. One may overfook a small amount, but would one
overlook a million dollars? The amount is not the issue, it is what it represents a
breach of contract in writing, by a Judge in a Court of Law.

 

 

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Respectful|y Submitted

BJWL_
Beverly Brab m

 

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PLEA AGREEIV[ENT SHEET

 

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per day lor housing and maintenance plus actual medical expenses incurred during the period

days credit lor time already served in jail on this charge

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